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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DARUS LEON HUNTER                           :         CIVIL ACTION
                                            :
      v.                                    :
                                            :
UNIVERSITY OF PENNSYLVANIA                  :         NO. 18-348

                                       ORDER

      NOW, this 30th day of May, 2018, the defendant having moved to dismiss the

plaintiff’s amended complaint, it is ORDERED that the arbitration hearing scheduled for

June 6, 2018 is postponed and will be rescheduled, if necessary, upon disposition of the

pending motion to dismiss.




                                                      /s/TIMOTHY J. SAVAGE
